EXHIBIT 9
                            ** NOT FOR PRINTED PUBLICATION **

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

MARK BARRY, M.D.,                               §
                                                §
       Plaintiff,                               §       CIVIL ACTION No. 1:14-CV-104
                                                §
v.                                              §       JUDGE RON CLARK
                                                §
MEDTRONIC, INC.,                                §       PRD
                                                §
       Defendant.                               §

               ORDER REGARDING MEDTRONIC’S MOTIONS IN LIMINE

       Before the court are Defendant Medtronic, Inc.’s Motions in Limine. [Dkt. # 339]. Plaintiff

Dr. Barry responded. [Dkt. # 349]. The court’s rulings are set out in the attached chart. As always

in this court, the grant of a motion in limine is reciprocal. If one side cannot introduce some piece

of evidence without approaching the bench, neither can the other side. The court does not invite a

re-hash of every ruling, but if counsel believes in good faith that evidence becomes relevant, say for

impeachment, or an opponent “opens the door,” that issue should be brought to the court’s attention

outside the presence of the jury.

            So ORDERED and SIGNED this 28 day of October, 2016.




                                                         ___________________________________
                                                         Ron Clark, United States District Judge




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                            Rulings on Defendant Medtronic’s Motions in Limine
MIL              D’s MIL                              P’s Response                                           Ruling
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 1  Reference to the Court’s pretrial    A blanket exclusion of any reference       Granted. Counsel may state “topic is outside of
    rulings, other than the Claim        to the Court’s orders would be             motion in limine number [X]” as shorthand
    Construction Order. It is            premature, and Defendant fails to          concerning a motion in limine that has been granted
    irrelevant, prejudicial, and         explain how referring to one of the        but shall not use phrases such as “violates the court’s
    improper under FRE 605.              Court’s orders could violate the rule      order.”
                                         that “[t]he presiding judge may not
                                         testify as a witness at the trial.” Fed.
                                         R. Evid. 605.
 2    Evidence of                        Medtronic’s request, in essence, is a      Granted as to all written and digital nondisclosure
      confidentiality/nondisclosure      request for judgment as a matter of        agreements and references and allusions to the
      agreements that have not been      law that no confidentiality                existence of such documents.
      produced by Barry. This            agreements existed because a
      evidence should be excluded        writing was not located. A motion
      under FRCP Rule 37(c).             in limine is not the proper vehicle to
                                         dispose of this issue.
 3    Argument or evidence that          Medtronic’s assertion that issue           Granted in part.
      Figure 6 is a “minor mistake.”     preclusion should apply lacks merit.       Neither party is permitted to reference: subsequent
      This argument was rejected by      The PTAB decision lacks the                filings and/or certificates of correction to or from the
      the PTAB, which means the          “practical finality” necessary for         PTO or PTAB; or the ‘301 patent, a third party, non-
      doctrine of issue preclusion       preclusive effect. Further, it is          asserted patent. Danger of confusion of issues and
      should apply. Also irrelevant,     Medtronic that intends to raise the        misleading jury substantially outweighs probative
      prejudicial, and confusing for the peripheral issue of Plaintiff’s            value.
      jury.                              certificates of correction, but seeks
                                         to introduce only part of the              Denied in part.
                                         evidence. See also response to MIL         As to ‘358 and ‘121 patents, assuming Medtronic
                                         4 below.                                   opens the door by arguing that Figure 6 evidences
                                                                                    prior public use that invalidates the patent, Dr. Barry
                                                                                    is allowed to rebut this contention and explain it is a
                                                                                    mistake. Medtronic has the opportunity to cross-
                                                                                    examine on this point, and the jury will have a copy of
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MIL               D’s MIL                              P’s Response                                         Ruling
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                                                                                    the patent to help them assess Dr. Barry’s credibility.

                                                                                     (The parties appear to agree that this litigation is
                                                                                    controlled by the patents as they existed at the time the
                                                                                    complaint was filed in this case.)

 4    Argument or evidence that            There is no issue preclusion because     Granted as to the ‘301 patent, a third-party, non-
      Figure 6 is not “the present         whether Figure 6 includes a minor        asserted patent. Danger of confusion of issues and
      invention.” This was rejected by     mistake or is “the present invention”    misleading jury substantially outweighs probative
      the PTAB, which leads to issue       was not “fully and vigorously            value.
      preclusion. It is also irrelevant,   litigated,” and it is not subject to a
      prejudicial, and risks jury          final decision.                          Denied as to ‘358 and ‘121 patents, assuming
      confusion.                                                                    Medtronic opens the door by arguing that Figure 6
                                                                                    evidences prior public use that invalidates the patent,
      Argument or evidence referring                                                Dr. Barry is allowed to rebut this contention and
      to changes made to the ’121                                                   explain it is a mistake. Medtronic has the opportunity
      patent, as Federal Circuit                                                    to cross-examine on this point, and the jury will have a
      precedent warrants exclusion.                                                 copy of the patent to help them assess Dr. Barry’s
      Also, confusing to the jury and                                               credibility.
      prejudicial.
                                                                                    (Medtronic’s motion as worded asks to keep out
                                                                                    statement that was not actually made. Figure 6 is not
                                                                                    “the present invention.” At most, it may be x-rays of
                                                                                    the results of the use or application of invention(s)
                                                                                    described in one or more of the claims. Counsel are
                                                                                    cautioned against using “legal shorthand” before the
                                                                                    jury unless clear explanations are given.)

 5    Argument or evidence regarding       To the extent that this Court permits    Granted. Given different standards, danger of
      the PTAB’s claim construction,       evidence of the PTAB’s proceedings       misleading jury and confusing the issues outweighs
      which applies different              to reach the jury, Dr. Barry might       any limited probative value.
      standards. It is irrelevant,         note for the jury that different
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MIL               D’s MIL                              P’s Response                                        Ruling
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      prejudicial, and confusing to the    evidentiary burdens apply there, and
      jury.                                that the PTAB can apply a different
                                           claim construction than the jury will
                                           be instructed to use. There is also
                                           room to agree with Medtronic on a
                                           curative instruction.
 6    Argument or evidence that the        Defendant’s motion is overbroad.        Granted as to PTAB’s IPR decisions and judgments.
      PTAB did not find the claims         Medtronic’s §102(g) invalidity          Neither party is permitted to discuss IPR decisions or
      invalid during IPR. The PTAB         defense rests largely on the            judgments, as the limited probative value is
      employs different standards,         testimony of Dr. Lawrence Lenke—        substantially outweighed by prejudice and confusion
      making the evidence irrelevant,      a paid Medtronic consultant who         under Rule 403. See, e.g., Virnetx, Inc. v. Cisco Sys.,
      confusing, and prejudicial.          wrote several declarations on           Inc., 767 F.3d 1308, 1324–25 (Fed. Cir. 2009).
                                           Medtronic’s behalf (and made            Counsel shall NOT attempt to introduce evidence or
                                           numerous admissions in them)            argue that Dr. Lenke’s statements were rejected or
                                           during the IPRs. The declarations       ignored by the PTAB.
                                           and their contents are not
                                           inadmissible simply because they        Denied insofar as both parties may use sworn
                                           were produced for use in IPR            declarations that were offered in the course of IPR
                                           proceedings                             proceedings for showing prior inconsistent statement
                                                                                   or other impeachment. Admission of such
                                                                                   declarations as exhibits is subject to objections made
                                                                                   during the course of trial based on the Federal Rules
                                                                                   of Evidence. Counsel and witnesses shall not discuss
                                                                                   the circumstances under which the declaration was
                                                                                   made other than to refer to it as “made in another
                                                                                   proceeding” and shall not in any way state, or ever
                                                                                   hint at, the findings or results of, such other
                                                                                   proceeding.

 7    Argument or evidence regarding       That Medtronic requested the            Granted. Neither party is permitted to discuss IPR
      the PTAB not instituting the first   invalidation of the patent claims is    decisions or judgments, as the probative value is
      IPR is irrelevant, confusing, and    relevant, as is evidence that those     substantially outweighed by the danger of misleading
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MIL               D’s MIL                           P’s Response                                         Ruling
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      prejudicial because the PTAB       petitions were denied. See Opp. to      the jury and confusion of the issues. See, e.g.,
      uses different standards. Courts   MILs 5 and 6. That evidence need        Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1324–
      routinely exclude.                 not be detailed or cumulative, but it   25 (Fed. Cir. 2009). Moreover, given that there is no
                                         is required to avoid jurors making      estoppel effect for grounds that were not instituted, see
                                         assumptions or being distracted.        Shaw Industries Group Inc. v. Automated Creel
                                         Medtronic, of course, can request a     Systems (Fed. Cir. 2016), the probative value of this
                                         curative instruction that the IPR       evidence is limited.
                                         proceedings did not and could not
                                         consider issues of Dr. Barry’s
                                         alleged public use or Dr. Lenke’s
                                         alleged prior invention.
 8    Medtronic’s total sales data,      Dr. Barry’s experts will present        Granted in part. Dr. Barry is not permitted to
      revenues, and net worth are        evidence concerning Medtronic’s         introduce evidence as to Medtronic’s financial worth
      irrelevant and such evidence       relative market share in the relevant   or size, or evidence related to overall total sales data
      would be prejudicial. Damages      field to establish the royalty base.    and revenue, or bring up enhanced damages, which is
      experts have not used this         Medtronic’s size and financial          a decision for the court to make should the jury return
      information in damages models.     conditional are also relevant to the    a finding of willfulness. However, Dr. Barry may
                                         issue of enhanced damages, which        introduce revenue and sales data of the products in
                                         should be tried to the jury.            question in the context of presenting evidence on
                                                                                 relative market share, which is relevant to the parties’
                                                                                 hypothetical negotiation. If net worth or size is a
                                                                                 tangential matter in an otherwise admissible
                                                                                 document, counsel must discuss with court at pre-trial.
                                                                                 Evidence may not be used in attorney argument to
                                                                                 assert that Defendant’s damages should be greater
                                                                                 since it is a wealthy company.
 9    Evidence of Barry’s charity      Dr. Barry should not be prevented         Agreed. Per parties’ representations at Final Pre-trial
      work is irrelevant, prejudicial, from introducing himself to the jury.     Conference, neither party will gild the lily regarding
      and improper character evidence. His work would be background              any witness’ irrelevant positive character traits.
                                       regarding who he is, what he does,
                                       and what he has been doing since
                                       the time of his invention. This is no
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MIL               D’s MIL                            P’s Response                                           Ruling
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                                         different than how Medtronic
                                         presents itself.
10    Evidence of Barry’s prior work     Dr. Barry is required to prove notice       Denied. This evidence may be relevant to willfulness
      with Medtronic is irrelevant and   of the patents-in-suit as an element        and inducement (knowledge of Dr. Barry’s patents).
      confusing to the jury.             of inducement. Such intent and
                                         knowledge can be proven with
                                         circumstantial evidence.
                                         Medtronic’s prior work with Dr.
                                         Barry is not confusing and goes to
                                         Medtronic’s credibility regarding its
                                         claimed lack of knowledge of the
                                         patents.
11    Use of “prior interrogatory        Medtronic asks this Court to prevent        Granted in part. Dr. Barry may not offer his own
      responses” and/or                  Dr. Barry from explaining when he           responses to interrogatories, which would be hearsay.
      uncorroborated testimony           reduced his invention to practice. It       But he may use responses that Medtronic made to
      regarding conception and/or        suggests Dr. Barry may rely on              interrogatories.
      reduction to practice should be    interrogatory responses that were
      precluded. Medtronic repeatedly    amended – an issue not of legal             Denied to the extent that Medtronic’s motion was
      requested this information,        import, but rather witness credibility      somehow intended to prevent Dr. Barry from offering
      which Barry was obligated to       thus left to the jury – or what             live testimony on topics addressed in interrogatories.
      supplement under FRCP Rule         Medtronic asserts, without support,         Subject to earlier rulings regarding Figure 6, oral
      26. His failure warrants           to be uncorroborated testimony.             testimony may be offered subject to Federal Rules and
      exclusion under FRCP Rule          Whether a statement is corroborated         objection by opposing counsel. Cross examination
      37(c).                             is a factual finding left to the jury, or   should expose the weaknesses that Medtronic
                                         at the very least, subject to legal         perceives exist.
                                         challenge at summary judgment.
12    References to number of            Dr. Barry does not oppose                   Granted. Neither side may make reference to these
      lawyers, size of counsel,          Medtronic’s motion in limine No. 12         aspects of either side’s trial counsel.
      geographic origin of counsel, or   as long as the Court’s order on the
      amount of resources spent by       issue is reciprocal.
      Medtronic are irrelevant and
      prejudicial.
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MIL              D’s MIL                            P’s Response                                         Ruling
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13    References to discovery disputes Dr. Barry’s damages expert will           Granted in part, denied in part. Neither party is
      between the parties are irrelevant testify that documents and records      permitted to refer to the fact that there was a discovery
      and prejudicial.                   that corporations of Medtronic’s size   dispute, that either party destroyed evidence or
                                         and sophistication routinely            spoliation. But expert witnesses (including Dr.
                                         maintain were not made available to     Schenk) may be permitted to comment on the
                                         her, and will discuss the               shortcomings of the documents that were made
                                         shortcomings of the documents           available insomuch as these observations appear in a
                                         Medtronic created for purposes of       Rule 26 expert report (to explain or rebut concerns
                                         responding to Dr. Barry’s discovery     regarding methodology, for example).
                                         requests. Dr. Barry is not going to
                                         reargue discovery disputes to the
                                         jury.
14    Evidence of other proceedings      Dr. Barry does not oppose, as he has    Granted.
      brought by third parties against   no intention of offering such
      Medtronic for patent               evidence.
      infringement is irrelevant,
      prejudicial, improper character
      evidence, and hearsay.


15    References to Medtronic’s          An accused infringer’s failure to       Denied. While Knorr-Bremse Systeme Fuer
      decision whether to obtain an      produce opinion-of-counsel              Nutzfahrzeuge GMBH v. Dana Corp., 383 F.3d 1337,
      opinion of counsel would be        evidence is a factor that is properly   1341 (Fed. Cir. 2004) states that failure to seek
      irrelevant, prejudicial, and       considered by the jury in               opinion of counsel is not conclusive, there is nothing
      prohibited by 35 U.S.C. § 298.     determining “whether the accused        in Knorr-Bremse that precludes the jury from hearing
                                         infringer ‘knew or should have          about failure to seek an opinion of counsel. Courts
                                         known’ that its actions would cause     routinely allow such evidence, as it is relevant to the
                                         another to directly                     totality of the circumstances determination for
                                         infringe.”Broadcom Corp. v.             subjective willfulness See Broadcom v. Qualcomm,
                                         Qualcomm Inc., 543 F.3d 683, 699        Inc., 543 F.3d 683, 689 (Fed. Cir. 2008) (approving
                                         (Fed. Cir. 2008). The ’358 patent       instruction to jury that failure to consult counsel can
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MIL               D’s MIL                              P’s Response                                     Ruling
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                                            issued before September 16, 2012,   be considered under totality of circumstances test for
                                            so §298 does not apply.             willfulness). The question of willfulness is still a jury
                                                                                question, even in the face of the Supreme Court’s
                                                                                decision in Halo Elecs., Inc. v. Pulse Elecs., Inc., 136
                                                                                S.Ct. 1923 (2016). See WBIP, LLC v. Kohler Co.,
                                                                                2016 WL 3902668, at *14 (Fed. Cir. July 19, 2016)
                                                                                (stating that willfulness is still a jury question
                                                                                notwithstanding Halo). As such, such evidence is
                                                                                relevant and the court will properly instruct the jury on
                                                                                use of this evidence/argument, if such is presented.
16    Argument or evidence relating to Just as the asserted claims require      Granted. Dr. Barry and his counsel will not refer to
      any alleged infringement not     instruments and implants, the            CD Horizon Solera implants or the CD Horizon Solera
      disclosed in Barry’s operative   accused products, as set forth in Dr.    “system” as an “accused product” or an “accused
      infringement contentions or      Barry’s operative contentions,           instrumentality.” Per Dr. Barry’s September 2015
      relating to products other than  similarly encompass Medtronic’s          infringement contentions, the accused
      the accused products would be at CD Horizon Legacy and Solera             instrumentalities in this case are the “Medtronic VCM
      odds with P.R. 3-6. The Court    instruments and implants. The            sets with Product Numbers . . . components of these
      rejected Barry’s request to      accused products are not limited to      sets, and the use of the components in these sets.”
      amend. Such references are       instruments that Medtronic               Dkt. # 87-1 (Infringement Contentions), at 4. While
      irrelevant, prejudicial, confusing,
                                       unilaterally says are                    both sides may reference the rods or other hardware
      and misleading.                  accused. Evidence of implants is         that is not included in the VCM kits in discussion of
                                       also highly relevant to Dr. Barry’s      damages, for instance, Dr. Barry cannot assert the
                                       damages as explained in his expert’s     Solera implants as an accused product.
                                       damages report.
17    Comments on Medtronic’s          This is acceptable provided that         Granted.
      decision to call or not call any Medtronic does not comment on the
      particular witness would be      presence or absence of any
      irrelevant and prejudicial.      witnesses presented during Dr.
                                       Barry’s case.
18    Expert opinions that were not    Dr. Barry does not object as a           Granted
      disclosed pursuant to FRCP Rule general principle, subject to any
      26 should be excluded pursuant   supplementation permitted in light
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MIL              D’s MIL                            P’s Response                                        Ruling
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      to FRCP Rule 37(c).               of Medtronic’s very late production
                                        of relevant documents or in response
                                        to a Medtronic violation of the
                                        ruling.
19    Statements that the Lenke videos In the IPR proceedings, Medtronic        Granted. Limited probative value of what art was
      were considered as prior art by   expressly told the USPTO that Dr.       considered or not considered by the PTAB during IPR
      the USPTO during the ’358         Lenke’s “Video and Slides are           is substantially outweighed by the danger of confusion
      reexamination are incorrect.      Printed Publications.” As a matter      of the issues and misleading the jurors. Neither party
      Argument or evidence              of fairness, Dr. Barry should be        may get into whether the “Video and Slides” were or
      containing these false statements allowed to use this inconsistent        were not considered.
      would be irrelevant and           position by Medtronic and Dr.
      prejudicial.                      Lenke, its expert witness before the
                                        USPTO and key fact witness in this
                                        litigation.
20    Lay witnesses should be           As the named inventor of the            Denied in limine. Dr. Barry will generally be
      precluded from giving expert      patents-in-suit, the court should       permitted to testify as to his alleged inventions, their
      testimony. It is improper under   allow Dr. Barry toexplain his           development, the value of his patents, and his beliefs
      FRE 701 and should be excluded invention, its development, and            about copying, as Dr. Barry has represented that he
      under FRCP Rule 37(c) if Barry provide testimony regarding the            intends to do (Opp. at 17). Even fact witnesses are
      failed to properly disclose an    value of his patents and his belief     allowed to offer lay opinions that are rationally based
      expert in accordance with FRCP that Medtronic and others copied his       upon their perception but not on the ultimate legal
      Rule 26.                          inventions and infringe the patents-    issues. Medtronic should object at trial if it believes
                                        in-suit. Such inventor testimony        particular testimony of Dr. Barry or any other witness
                                        based on perception is regularly        is objectionable.
                                        admitted and is helpful to the jury’s
                                        determination of infringement, to
                                        questions of validity including at
                                        least secondary non-obviousness
                                        considerations such as copying, and
                                        to understanding the value of Dr.
                                        Barry’s patents.
21    Evidence that contradicts or      Because Dr. Barry does not intend to    Denied. Broad advisory orders in limine are generally
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MIL               D’s MIL                            P’s Response                                         Ruling
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      supplements Barry’s prior           present evidence contrary to sworn      not helpful or proper. The court will apply the Federal
      discovery responses. Under          testimony, this does not seem the       Rules of Civil Procedure 26 and 37(c) to assess the
      FRCP Rule 26, Barry had a duty      proper basis for an in limine order.    timeliness of the evidence presented upon objection.
      to supplement or correct his        This motion is more appropriately
      discovery responses. If he failed   directed at Medtronic’s Dr. Lenke.
      to do so, FRCP 37(c) warrants
      exclusion of the information he
      failed to supplement.
22    Testimony and evidence              The jury will naturally be informed     Granted as to references to fee-shifting, per party
      regarding the possibility of an     that patents provide inventors with     agreement (Opp. at 14).
      injunction, treble damages, or      the right to exclude others from
      attorneys’ fees should be           practicing the claimed invention.       Counsel shall not mention, and shall carefully instruct
      excluded as irrelevant. These       This is relevant to understanding the   their witnesses not to mention, the possibility of an
      issues are for the Court’s          rights of patent owners, and to         injunction or treble damages or that particular
      determination.                      understanding the determination of a    evidence may support imposition of either remedy.
                                          reasonable royalty rate through a
                                          hypothetical negotiation. Further,
                                          pursuant to the Seventh
                                          Amendment, the jury should
                                          determine enhanced damages.
23    References to the “clear and        Recent Supreme Court decisions          Denied.
      convincing” burden or the           have rejected the cases cited by
      “presumption of validity”           Medtronic in support of this motion
      standard should be excluded         and affirmed the “presumption of
      because it is prejudicial and       validity” and “clear and convincing”
      would be cumulative of any          burden at all times.
      instruction given by the Court.
24    The Court previously held that      Until Dr. Barry was provided with       Agreed. Per parties’ representations at Oct. 27, 2016
      Barry is not entitled to recover    documents evidencing the truth –        Final Pre-trial Conference, Dr. Barry does not oppose
      pre-suit damages relating to any    that is that Medtronic knew of the      this motion.
      infringement of the ’121 patent.    ’358 patent as of March 10, 2010,
      Any evidence of pre-suit            despite repeated sworn testimony
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MIL               D’s MIL                            P’s Response                                         Ruling
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      damages would be irrelevant and     presumably educated by the
      would risk jury confusion.          employee in possession of the
                                          evidence – Dr. Barry had no choice
                                          but to amend his inducement,
                                          willfulness, and damages theories to
                                          reflect the blatantly false testimony
                                          Dr. Barry received. This motion
                                          will now need to be addressed in
                                          tandem with Dr. Barry’s motions
                                          regarding Medtronic’s discovery
                                          conduct as this may also impact
                                          when Medtronic learned of the ‘121
                                          patent.
25    References to Barry’s expert,       Dr. Neal provided testimony             Denied. Dr. Neal may testify to the fact that he has
      David Neal’s, experience in         regarding his prior work on surveys     previously created surveys in a patent case, a fact that
      preparing surveys that were not     at his deposition. Accordingly, there   is absent from his CV but one which he was asked and
      listed on his CV. Experts are       is no surprise that – contrary to       answered questions about in deposition. This is
      required to disclose                Medtronic’s assertions– Dr. Neal        relevant to his expertise and the court does not find
      qualifications under FRCP Rule      has previously worked on patent         harm to Medtronic to allow this testimony. However,
      26(a)(2)(B), and failure to do so   matters.                                Dr. Neal’s substantive testimony is of course limited
      warrants exclusion under FRCP                                               to those surveys and the making of those surveys that
      Rule 37(c).                                                                 are in his report. Detailed testimony about surveys
                                                                                  that are not related to his opinions is irrelevant.
      For the same reason, Barry
      should be precluded from
      referencing facts or data that
      were not disclosed by Neal as
      having been considered in
      forming his opinions.
26    Barry should not be permitted to    Dr. Barry reserves the right to argue   Granted. Evidence or testimony related to the
      imply that Medtronic has            to the jury and present evidence that   veracity and completeness of documents may be
      spoliated evidence. There has       documents produced by Medtronic         relevant but evidence regarding spoliation or
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MIL              D’s MIL                            P’s Response                                      Ruling
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      been no such finding, and any      do not tell the complete story and   destruction of evidence is irrelevant, as Dr. Barry
      implication would be prejudicial   that Medtronic cannot have it both   admits he has never asserted that Medtronic has
      and irrelevant.                    ways.                                destroyed evidence (Mot. at 21).




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